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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

PUBLIC EMPLOYEES FOR
ENVIRONMENTAL RESPONSIBILITY,

Plaintiff,

y Civil Action No. 23-1150 (CKK)

NATIONAL PARK SERVICE,
Defendant.

 

 

ORDER
(June 22, 2023)

This case comes before the Court upon the filing of Defendant’s [6] Answer to
Plaintiff’s [1] Complaint. In light of this filing, it is this 22nd day of June, 2023, hereby

ORDERED that the parties shall MEET AND CONFER and file a Joint Status
Report proposing a schedule for proceeding in this matter. The schedule should address
the status of Plaintiff's FOIA request, the anticipated number of documents responsive to
Plaintiff’s FOIA request, the anticipated date(s) for release of the documents requested by
Plaintiff, whether a motion for an Open America stay is likely in this case, whether a
Vaughn index will be required in this case, etc. The parties shall file the schedule not later

than July 14, 2023.

SO ORDERED. (Yb, K th - Kt

COLLEEN KOLLAR-KOTELLY
United States District Judge
